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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA




Ronald Felder
                    Plaintiff,
                                              Civil Action No.


                                              COMPLAINT



vs.


HILTON WORLDWIDE HOLDINGS,
INC.
DBA LOGAN HOTEL

                 Defendant




                        I. PRELIMINARY STATEMENT
1.    Plaintiff brings this action seeking redress for the misconduct

      of Hilton Worldwide Holdings, Inc. d/b/a The Logan pursuant to 42

      U.S.C. §1981, and 42 U.S.C. § 2000a.

                                 II. JURISDICTION AND VENUE

2.    This action is brought pursuant to 42 U.S.C. §1981 and 42 U.S.C.

      § 2000a.

3.    Jurisdiction of this Court is based upon 28 U.S.C. §§1331 and

      1343(a)(4), and the aforementioned statutory provisions.

4.    Venue is proper in this district under 28 U.S.C. § 1391(b) in

      that all claims arose in this district.




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                              III. PARTIES
5.    Plaintiff, Ronald Felder, is an adult individual residing at 1238

      N. Allison Street Philadelphia, PA 19131.

6.    Defendant Hilton Worldwide Holdings, Inc. was at all times

      relevant to this complaint, a limited liability Delaware

      Corporation and/or business organization established and existing

      under the laws of the State of Delaware, and whose corporate

      headquarters and/or business address are located at 7930 Jones

      Branch Drive Suite 1100, McLean, VA 22102.

7.    Upon information and belief, Hilton Worldwide Holdings, Inc.

      transacts and does business under the name “The Logan” operating

      a place of public accommodation in the nature of a hotel located

      at One Logan Square, Philadelphia, PA 19103.

8.    The Plaintiff in this action is of African American descent

      and is Black.


9.    The subject employee and/or agent of the Defendant with

      which Plaintiff interacted is of Hispanic descent and is

      White.

                            IV. FACTUAL ALLEGATIONS

10.   The Plaintiff was a hotel guest at the Logan Hotel beginning on

      November 3, 2020.

11.   The Plaintiff, a licensed private detective, was working an

      executive protection detail for Al Jazeera Media Network’s

      reporters and cameramen covering the 2020 Presidential Election

      at the Convention Center in Philadelphia.



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12.   During his stay at the Logan Hotel, Plaintiff accompanied members

      of the press in the capacity of personal security, for which Mr.

      Felder is licensed and certified under the laws of Pennsylvania.

13.   On the morning of November 7, 2020, the Plaintiff was at the

      Convention Center when the cameraman realized that a camera

      battery had been left behind at the hotel. The cameraman

      requested that the Plaintiff return to the hotel and retrieve the

      additional battery before the camera went dead so that the

      cameraman did not lose a live feed to the network.

14.   The Plaintiff returned to the hotel to obtain the battery for the

      cameraman.

15.   The Plaintiff retrieved the battery from the hotel room and

      attempted to return to the Convention Center to give the battery

      to the cameraman.

16.   At this point Plaintiff had been a guest for five days at the

      Logan Hotel, and because he already felt uncomfortable in such a

      nice upscale hotel due to his being Black, Plaintiff had made a

      point of introducing himself to staff and security so that they

      would know that Plaintiff belonged at the hotel.

17.   The Plaintiff was walking through the lobby area towards the

      front doors carrying the camera battery when he was physically

      stopped and grabbed by a female hotel security guard who was

      White.

18.   The hotel security guard aggressively took the battery out of the

      Plaintiff’s hands despite the fact that Plaintiff repeatedly told

      the security guard that he was a guest in the hotel. Plaintiff



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      also repeatedly asked the security guard to just ask the manager

      of the hotel to confirm what Plaintiff was telling the security

      guard.

19.   The hotel security guard then loudly accused the Plaintiff of

      stealing the camera battery and told the Plaintiff in a loud

      aggressive voice and tone that he was a liar and that he was

      going to jail.

20.   There were several hotel guests and other hotel employees who

      were present and witnessed the interaction between the Plaintiff

      and the hotel security guard.

21.   The Plaintiff was the only black hotel guest in the lobby at the

      time. All of the other guests were white.

22.   Additionally, dozens of white hotel guests went to and from their

      rooms that day, and not a single one of them was publicly

      accosted, accused of theft, loudly accused of being a liar in

      full view of the other guests and hotel employees. None of the

      other guests had personal property wrenched out of their hands

      either.

23.   The Plaintiff calmly showed the hotel security guard his Private

      Detective’s license, explained that he was working a private

      security detail and had been a guest at the hotel for five days,

      and told her his room number and attempted to show her his room

      key.

24.   Even after Plaintiff had identified himself and produced proof of

      his right to be where he was, and in spite of the fact that the

      hotel security guard had zero evidence that Plaintiff was a



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      thief, she stated that she did not believe the Plaintiff.

25.   Being extremely embarrassed, fearful of the situation escalating

      further, and worried that the cameraman would miss a live feed to

      a global news show without the battery, Plaintiff suggested that

      the two of them go and see a manager.

26.   Plaintiff and the security guard went and saw a hotel manager at

      the front desk.   The manager, who recognized Plaintiff as a

      guest, confirmed what the plaintiff had explained to the security

      guard. The manager also apologized and said that the security

      guard mistook Plaintiff for a Black man who had stolen some items

      from the hotel. The security guard was made to apologize but did

      so stubbornly and in an insincere manner.

27.   The Plaintiff then finally had the battery returned to him and

      left the hotel to take the battery to the cameraman at the

      Convention Center as fast as he could.

28.   Because of his job duty requirements, the Plaintiff had to stay

      in the hotel for another twenty-three days.

29.   Throughout the remainder of his stay, the Plaintiff was

      embarrassed by the unwarranted and racially charged interaction

      with the security guard.

30.   The Plaintiff, a private person whose job depends on being

      discreet, grew more embarrassed and upset throughout his stay at

      the Logan Hotel, because although he was trying to keep the

      situation quiet and he did not want his clients to find out, the

      incident became the talk of the hotel.

31.   The Plaintiff had just started working this detail as a sub-



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      contractor for another security firm. The previous private

      detective had been at the hotel on the executive security detail

      for Al Jazeera since October 30, 2020. The hotel was aware that

      the news crew and executive protection would be coming and going

      with large camera equipment. On some occasions the news crew shot

      live news broadcasts in front of the hotel. The previous private

      detective working this executive protection detail was White, and

      he had never experienced any incidents wherein he was loudly,

      rudely, and physically accosted while being called a liar and a

      criminal and threatened with jail.

32.   Despite having to stay at the hotel for twenty-three additional

      days, the Plaintiff barely left his room except when necessary to

      perform his required job duties.

33.   The Plaintiff was afraid that another incident similar to the one

      he previously experienced could happen again and he increasingly

      felt like he did not belong at the Hotel because he is Black.

34.   The incident caused the Plaintiff emotional distress, extreme

      embarrassment, and humiliation. He had difficulty concentrating

      on performing his job duties throughout the remainder of his stay

      at the Logan Hotel. Plaintiff was constantly worried that his job

      had been placed in jeopardy due to the delay in getting the

      battery to the camera man. Plaintiff was also further embarrassed

      and humiliated when his employer found out about the incident and

      complained to hotel management.

                            FIRST CAUSE OF ACTION
                         VIOLATION OF 42 U.S.C. §1981

35.   Plaintiff incorporates by reference paragraphs 1-34 of the


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      instant Complaint.

36.   The Defendant’s conduct as set forth herein constituted a denial

      of Plaintiffs’ rights due solely to Plaintiffs’ race. There is no

      evidence that any guests who are not Black were treated remotely

      in the same fashion that the Plaintiff was treated by the

      security guard.   The security guard had no legitimate basis to

      claim the Plaintiff had stolen the camera battery.

37.   Defendant violated 42 U.S.C. §1981 wherein Defendant, through its

      employee, deprived Plaintiff of the right to enforce and enjoy

      the benefit of contracts, and to the full and equal benefit of

      all laws and proceedings for the security of persons and property

      on the same terms as are enjoyed by White persons.

38.   The Defendant, through its employee, also created a racially

      hostile environment for black guests, potential guests,

      consumers, and potential consumers in further violation of 42

      U.S.C. §1981.



                             SECOND CAUSE OF ACTION

                        (VIOLATION OF 42 U.S.C. §2000A)

39.   Plaintiffs incorporate by reference paragraphs 1 through 38 of

      the instant complaint.

40.   The Logan Hotel is a “place of public accommodations” within the

      meaning of 42 U.S.C. §2000a(c)(2).

41.   The acts of Defendant have denied the Plaintiffs the full and

      equal enjoyment of goods, services, facilities, privileges,

      advantages, and accommodations on the basis of race and created a



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      racially hostile environment, in violation of 42 U.S.C. §2000a.

                                   RELIEF REQUESTED

WHEREFORE, Plaintiffs respectfully request the following relief:

A. Trial by jury;

B. Compensatory damages;

C. Punitive damages;

D. Award to Plaintiff of reasonable attorneys’ fees and costs incurred

in connection with this action from the Defendants pursuant to 42

U.S.C. §1988;

E. Such further and different relief as is just and proper or that is

necessary to make the Plaintiff whole.



                            DESIGNATION OF TRIAL COUNSEL

      Plaintiff designates the undersigned as trial counsel.




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